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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA


CALIFORNIA PUBLIC EMPLOYEES’                  Case No. 0:24-cv-01743-JMB-DTS
RETIREMENT SYSTEM, individually and
on behalf of all others similarly situated,
                                                   DECLARATION OF MICHAEL G.
                        Plaintiffs,                BONGIORNO IN SUPPORT OF
v.                                                 DEFENDANTS’ MOTION TO
                                                   DISMISS COMPLAINT
UNITEDHEALTH GROUP INC.,
ANDREW WITTY, STEPHEN
HEMSLEY, and BRIAN
THOMPSON,

                        Defendants.
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I, Michael G. Bongiorno, hereby declare under penalty of perjury as follows:


        1. I am an attorney with the law firm of Wilmer Cutler Pickering Hale and Dorr LLP,

           counsel for Defendants UnitedHealth Group Incorporated (“UHG”), Andrew Witty,

           Stephen Hemsley, and Brian Thompson 1 in the above-captioned action.

        2. I am a member in good standing of the State Bar of New York.

        3. I submit this Declaration in support of Defendants’ Motion to Dismiss, filed in this

           action.

        4. Attached hereto are true and correct copies of the following exhibits cited in Defendants’

           Memorandum of Law in Support of their Motion to Dismiss. I submit this Declaration in

           order to place before the Court certain documents and information subject to judicial

           notice and referred to in the Memorandum of Law in Support of Defendants’ Motion to

           Dismiss.



    Exhibit          Document                                          Basis
    1                UHG, Annual Report (Form 10-K),                   Incorporated by Reference at ¶¶ 8, 25,
                     filed with the U.S. Securities and                89, 148, 148 n.18, 149–50, 163, 183,
                     Exchange Commission (“SEC”) on                    190, and 256; 2 SEC Filing. 3
                     February 15, 2022.
    2                Stephen Hemsley, Form 4, filed with               Incorporated by Reference at ¶¶ 213
                     the SEC on May 12, 2020.                          and 213 n.24; SEC Filing.



1
  The Motion to Dismiss is brought by Defendants UnitedHealth Group Incorporated, Andrew Witty, and Stephen
Hemsley. Defendant Brian Thompson is deceased.
2
  See Freedman v. St. Jude Med., Inc., 4 F. Supp. 3d 1101, 1110–11 (D. Minn. 2014) (courts may consider
“documents incorporated into the complaint by reference”) (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
551 U.S. 308, 322 (2007)); Kushner v. Beverly Enter., Inc., 317 F.3d 820, 831 (8th Cir. 2003) (documents are
incorporated by reference where the contents of the document are alleged in the complaint and the document’s
authenticity is not questioned by any party).
3
  See Trustees of Welfare and Pension Funds of Loc. 464A - Pension Fund v. Medtronic PLC, 726 F. Supp. 3d 938,
957, n.7 (D. Minn. 2024) ((“[I]t is permissible for courts to take judicial notice of SEC filings at the 12(b)(6) stage in
securities fraud cases for the purpose of determining what statements the documents contain.”) (quoting In re
Guidant Corp. Sec. Litig., 536 F. Supp. 2d 913, 921 (S.D. Ind. 2008)); In re NVE Corp. Securities Litig., 551 F.
Supp. 2d 871, 879 (D. Minn. 2007) (considering SEC filings excerpted in Amended Complaint).
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3         Stephen Hemsley, Form 4, filed with     Incorporated by Reference at ¶¶ 213
          the SEC on July 20, 2020.               and 213 n.24; SEC Filing.
4         Stephen Hemsley, Form 4, filed with     Incorporated by Reference at ¶¶ 213
          the SEC on October 27, 2020.            and 213 n.24; SEC Filing.
5         Stephen Hemsley, Form 4, filed with     Incorporated by Reference at ¶¶ 216
          the SEC on July 28, 2022.               and 306; SEC Filing.
6         Stephen Hemsley, Form 4, filed with     Incorporated by Reference at ¶¶ 13,
          the SEC on October 19, 2023.            133, 213 n.23, 217–18, and 306; SEC
                                                  Filing.
7         Stephen Hemsley, Form 4, filed with     Incorporated by Reference at ¶¶ 13,
          the SEC on December 7, 2023.            133, 217, 219, and 306; SEC Filing.
8         Brian Thompson, Form 4, filed with      Incorporated by Reference at ¶¶ 133
          the SEC on February 20, 2024.           and 221; SEC Filing.
9         UHG, Quarterly Report (Form 10-Q),      Incorporated by Reference at ¶¶ 25 and
          filed with the SEC on August 2, 2023.   145 n.17; SEC Filing.
10        UHG, Quarterly Report (Form 10-Q),      Incorporated by Reference at ¶¶ 25 and
          filed with the SEC on November 6,       145 n.17; SEC Filing.
          2023.
11        Email thread from January 2021 with a   Incorporated by Reference at ¶ 207.
          subject line of “ORx Data Access
          Request Form_DUR300147.”
12        Excerpt of trial testimony of Peter     Incorporated by Reference at ¶¶ 204,
          Dumont, United States v.                206, 208.
          UnitedHealth Grp. Inc., 630 F. Supp.
          3d 118 (D.D.C. 2022).
13        2021 Data Governance Audit Report       Incorporated by Reference at ¶ 209.
          for UHG.
14        Email from Andrew Witty to Dirk         Incorporated by Reference at ¶ 210.
          McMahon on January 3, 2022, with a
          subject line of “FW: 2021 IAAS
          Technology Data Governance Audit
          Final Report.”
15        Stephen Hemsley, Form 4, filed with     SEC Filing.
          the SEC on October 5, 2021.
16        Stephen Hemsley, Form 4, filed with     SEC Filing.
          the SEC on January 4, 2024.
17        Brian Thompson, Form 4, filed with      SEC Filing.
          the SEC on September 23, 2021.
18        Brian Thompson, Form 4, filed with      SEC Filing.
          the SEC on February 26, 2024.
19        Andrew Witty, Form 4, filed with the    SEC Filing.
          SEC on June 6, 2022.
20        Andrew Witty, Form 4, filed with the    Incorporated by Reference at ¶ 215;
          SEC on July 19, 2022.                   SEC Filing.
21        Andrew Witty, Form 4, filed with the    SEC Filing.
          SEC on September 23, 2021.
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22        Andrew Witty, Form 4, filed with the      SEC Filing.
          SEC on February 26, 2024.
23        Email from Daniel Schumacher to           Incorporated by Reference at ¶ 202.
          Andrew Witty on March 3, 2021, with
          a subject line of “Leadership Operating
          Principles.”
24        Compilation of anonymous survey           Incorporated by Reference at ¶ 201.
          responses provided on February 21,
          2021.
25        UHG’s Code of Conduct, dated 2023.        Incorporated by Reference at ¶ 170 and
                                                    177–183
26        Report by Jefferies on February 27,       Incorporated by Reference at ¶ 277.
          2024, titled “UNH’s VBC Scale in
          Certain Markets a Possible Target of
          Anti-Trust Probe.”
27        Report by RBC on February 27, 2024,       Incorporated by Reference at ¶ 278.
          titled, “WSJ Reports UNH is the
          Target of DOJ Anti-Trust
          Investigation.”
28        Report by UBS on February 28, 2024,       Incorporated by Reference at ¶ 280.
          titled, “Report of DOJ Antitrust
          Investigation into UNH Leads to Share
          Weakness; Our Thoughts.”
29        Article published by Barron’s on          Incorporated by Reference at ¶ 276.
          February 28, 2024, titled, “United
          Health Stock Falls After Report Says
          the Justice Department Has Launched
          an Antitrust Investigation.”
30        Article published by The Wall Street      Incorporated by Reference at ¶ 279.
          Journal on February 28, 2024, titled,
          “UnitedHealth Stock Slides, Weighs
          on the Dow.”
31        Article published by AIS Health on        Incorporated by Reference at ¶ 281.
          March 1, 2024, titled, “DOJ to Test
          UnitedHealth’s ‘Firewall’ with
          Antitrust Probe.”
32        Article published by Bloomberg on         Incorporated by Reference at ¶ 134,
          April 11, 2024, titled, “UnitedHealth     223, 275.
          Chair, Executives Sold $102 Million in
          Stock Before US Probe Became
          Public.”
33        Stephen Hemsley, Form 4, filed with       Incorporated by Reference at ¶ 213;
          the SEC on October 27, 2021.              SEC Filing.
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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge and belief.


Executed in New York City, New York on this 28th day of February, 2025.


                                                     /s/ Michael G. Bongiorno
                                                     Michael G. Bongiorno


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